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Attorney for Defendant
WW Altadena, LLC

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

GABRIEL DORSEY, CASE NO.: 2:21-cv-00018-PSG-SK
Plaintiff,
ANSWER TO COMPLAINT BY WW

VS ALTADENA, LLC

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MASHHOUR BROS., INC. D/B/A TOWN AND }
COUNTRY LIQUORS; WW ALTADENA, GLC: )
and DOES 1 through 10, inclusive, )
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Defendants.

Defendant WW ALTADENA, LLC, hereby answers the complaint of

plaintiff GABRIEL DORSEY as follows:
PARTIES

‘Lins Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraph 1, and on that ground, denies each and every such allegation.

Bre Defendant denies each and every allegation contained in
paragraph 2, except that defendant admits that such real property is
owned by I.D. Weiner and Gayle A. Weiner, as Trustees of the I.D. Weiner
and Gayle A. Weiner Revocable 1996 Trust.

3. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in

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paragraphs 3, 4, and 5 and on that ground, denies each and every such
allegation.
JURISDICTION AND VENUE

4. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 6, 7, 8, and 9, and on that ground, denies each and every
such allegation.

FACTUAL ALLEGATIONS

5. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraph 10, and on that ground, denies each and every such allegation.

6. Defendant admits each and every allegation contained in
paragraph 11.

Vg Defendant has no information or belief on this subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 12 through 17, and on that ground, denies each and every such
allegation.

ANSWER TO ALLEGED FIRST CAUSE OF ACTION

Bh. In response to the allegations of paragraph 18 of the
Complaint, defendant realleges and incorporates herein by reference each
and every admission, denial and allegation contained in paragraphs 1
through 7 of defendant's answers to plaintiff£’s allegations pertaining
to Parties, Jurisdiction & Venue, and Factual Allegations contained in
paragraphs 1 through 17 of the complaint.

os Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 19 through 35, and on that ground, denies each and every such
allegation.

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ANSWER TO ALLEGED SECOND CAUSE OF ACTION

10. In response to the allegations of paragraph 36 of the
Complaint, defendant realleges and incorporate herein by reference each
and every admission, denial and allegation contained in paragraphs 1
through 7 of defendant’s answers to plaintiff's allegations pertaining
to Parties, Jurisdiction & Venue, and Factual Allegations contained in
paragraphs 1 through 17 of the complaint, and paragraph 9 of defendant's
answer to plaintiff’s alleged first cause of action.

dds Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 37 through 41, inclusive, and on that ground, denies each and
every such allegation.

ANSWER TO ALLEGED THIRD CAUSE OF ACTION

12 . In response to the allegations of paragraph 42 of the
Complaint, defendant realleges and incorporate herein by reference each
and every admission, denial and allegation contained in paragraphs 1
through 7 of defendant's answers to plaintiff's allegations pertaining
to Parties, Jurisdiction & Venue, and Factual Allegations contained in
paragraphs 1 through 17 of the complaint, paragraph 9 of defendant’s
answer to plaintiff's alleged first cause of action, and paragraph 11 of
defendant’s answer to plaintiff's alleged second cause of action.

13. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 43 through 47,inclusive, and on that ground, denies each and
every such allegation.

ANSWER TO ALLEGED FOURTH CAUSE OF ACTION

14. In response to the allegations of paragraph 48 of the

Complaint, defendant realleges and incorporate herein by reference each

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and every admission, denial and allegation contained in paragraphs 1
through 7 of defendant’s answers to plaintiff’s allegations pertaining
to Parties, Jurisdiction & Venue, and Factual Allegations contained in
paragraphs 1 through 7 of the complaint, paragraph 9 of defendant’s
answer to plaintiff’s alleged first cause of action, paragraph 11 of
defendant’s answer to plaintiff’s alleged second cause of action, and
paragraph 13 of defendant's answer to plaintiff's alleged third cause of
action.

LBs. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 49 through 51,inclusive, and on that ground, denies each and
every such allegation.

ANSWER TO ALLEGED FIFTH CAUSE OF ACTION

Le. In response to the allegations of paragraph 52 of the
Complaint, defendant realleges and incorporate herein by reference each
and every admission, denial and allegation contained defendant’s answers
to plaintiff's allegations pertaining to Parties, Jurisdiction & Venue,
and Factual Allegations contained in paragraphs 1 through 17 of the
complaint, paragraph 9 of defendant’s answer to plaintiff's alleged
first cause of action, paragraph 11 of defendant's answer to
plaintiff’s alleged second cause of action, paragraph 13 of defendant's
answer to plaintiff's alleged third cause of action, and paragraph 15 of
defendant’s answer to plaintiff’s alleged fourth cause of action.

LT. Defendant has no information or belief on the subject
sufficient to enable defendant to answer the allegations contained in
paragraphs 53 through 55,inclusive, and on that ground, denies each and

every such allegation.

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AFFIRMATIVE DEFENSES

18. Defendant alleges that the first cause of action of the
complaint fails to state facts sufficient to constitute a cause of
action against defendant WW Altadena, LLC.

1D Defendant alleges that the second cause of action of the
complaint fails to state facts sufficient to constitute a cause of
action against defendant WW Altadena, LLC.

D0! Defendant alleges that the third cause of action of the
complaint fails to state facts sufficient to constitute a cause of
action against defendant WW Altadena, LLC.

Bae Defendant alleges that the fourth cause of action of the
complaint fails to state facts sufficient to constitute a cause of
action against defendant WW Altadena, LLC.

22 . Defendant alleges that the fifth cause of action of the
complaint fails to state facts sufficient to constitute a cause of
action against defendant WW Altadena, LLC.

23, The second cause of action pertaining to California Unruh
Civil Rights Act has been dismissed without prejudice by the Honorable
Cormac J. Carney, on December 29, 2020.

24. The third cause of action pertaining to California Disabled
Persons Act has been dismissed without prejudice by the Honorable Cormac
J. Carney, on December 29, 2020.

25. The fourth cause of action pertaining to California Health and
Safety Code has been dismissed without prejudice by the Honorable Cormac
J. Carney, on December 29, 2020.

26. The fifth cause of action pertaining to negligence has been
dismissed without prejudice by the Honorable Cormac J. Carney, on
December 29, 2020.

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oe The modifications, alterations and repairs proposed by
plaintiff has required by the Americans with Disability Acts of 1990,
are not readily achievable.

28 .. Plaintiff has waived any claims he may have against the
Defendant arising from the occurrence as set forth in the complaint.

29. Plaintiff is estopped by his own conduct from asserting any
and all claims he may have against the Defendant arising from the
occurrence as set forth in the complaint.

30. Plaintiff has acted with “unclean hands” and such actions are
directly related to claims for relief which bars Plaintiff from seeking
relief.

Ble. Plaintiff is not entitled to statutory punitive damages
because at all times relevant to this action, defendant acted in good
faith and in effort to comply with all state and federal laws and
regulations..

THEREFORE, defendant prays for judgment as follows:

1. The plaintiff take nothing under the complaint;

2. Defendant be awarded costs of suit; and

3. Defendant be awarded such other and further relief as the court
considers just and proper. ls
Dated: January 27, 2021 A

MYLES M. MATTENSON

Attorney for Defendant
WW Altadena, LLC

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PROOF OF SERVICE

STATE OF CALIFORNIA )

)
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California; I
am over the age of 18 and not a party to the within action; my business

address is 5550 Topanga Canyon Boulevard, Suite 200, Woodland Hills, CA
91367.

On JANUARY 27, 2020, I served the foregoing document described
ANSWER TO COMPLAINT BY WW ALTADENA, LLC the interested parties in this
action

X by placing the original X_ a true copy thereof in sealed
envelopes addressed as follows:

So. Cal Equal Access Group
Jason J. Kim, Esq.

Jason Yoon, Esq.

101 S. Western Ave, 2™ Floor
Los Angeles, CA 90004

_X_ By Mail I deposited such envelope in the mail at Woodland Hillis,
California. The envelope was mailed with postage thereon fully
prepaid. Iam "readily familiar" with the firm's practice of
collection and processing correspondence for mailing. Under that
practice it would be deposited with U.g. postal service on that same
day with postage thereon fully prepaid at Los Angeles, California
in the ordinary course of business. I am aware that on motion of
the party served, service is presumed invalid if postal cancellation
date or postage meter date is more than one day after date of
deposit for mailing in affidavit.

Executed on JANUARY 27, 2020, in Woodland Hills, California.
STATE I declare under penalty of perjury under the laws of the
State of California that the above is true and correct.

X FEDERAL I hereby certify that I am a,gmember of the Bar of the
United States District Cou , Central District of
California.

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ANSWER TO COMPLAINT BY WW ALTADENA, LLC

